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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MICHELLE M. REDD,                          )
     Plaintiff,                            )
                                           )
      v.                                   )
                                           )
                                           )
HEALTHCARE REVENUE RECOVERY GROUP, L.L.C., )
D/B/A ARS ACCOUNT RESOLUTION SERVICES,     )
      Defendant.                           )

 PLAINTIFF MICHELLE REDD’S MOTION TO FILE INSTANTER HER RESPONSE
        TO THE DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Plaintiff Ms. Redd, by her counsel, Paúl Camarena, respectfully moves the Court for

leave to file instanter her Response to the Defendant’s Motion for Summary Judgment. The

Court ordered Ms. Redd to file her Response by January 17, 2022, Martin Luther King Day. Ms.

Redd filed her response on January 18 at 1:30am, which was within one hour and a half of the

due date. Counsel submits that his delay is too brief to prejudice the Defendant. Thus, the Court

should grant Plaintiff leave to file her response instanter.

        Respectfully submitted
        Plaintiff Michelle Redd’s Counsel
        North & Sedgewick LLC
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